                                   STATEMENT OF FACTS

        Your affiant, David Gorman, is a Special Agent for the Federal Bureau of Investigation
(FBI) assigned to national security matters. In my duties as a Special Agent, I am responsible for
investigating a variety of federal violations, including those involving international and domestic
terrorism. Currently, I am a tasked with investigating criminal activity in and around the Capitol
grounds on January 6, 2021. As a Special Agent, I am authorized by law or by a Government
agency to engage in or supervise the prevention, detention, investigation, or prosecution of a
violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        On or about January 12, 2021, an anonymous tip was received by the FBI. The tipster stated
that a “Jon Sanders” bragged to the tipster that SANDERS was there (during the Capitol riot on
January 6, 2021) and was only 70 feet away from the lady who was shot at the Capitol Building.
The tipster possibly worked with Jon Sanders at Lewis Bakery in Vincennes, Indiana.

     On January 14, 2021, an interview was conducted with Jon Sanders, identified as
JONATHAN ACE SANDERS SR. (SANDERS), at Lewis Bakery in Vincennes, Indiana.

        During the interview SANDERS said he drove to Washington DC on January 5, 2021 with
two friends, (Witness #1[W-1] and Witness #2 [W-2]) to attend the Stop the Steal Rally.

        SANDERS said he went to the Capitol Mall area to listen to President Donald Trump’s
speech. At the end of the speech he and his friends followed a crowd towards the Capitol Building.
When asked how close SANDERS got to the Capitol Building, he said he went inside. SANDERS
said he went inside the Rotunda area of the Capitol Building and took pictures and videos while
inside. SANDERS also said he talked to the Capitol Police once inside the Capitol Building. While
inside SANDERS said he also heard that a lady was shot.

       During the interview SANDERS provided his cellular telephone number as XXX-XXX-
9527. Prior to SANDERS entry into the Capitol Building, he described at least two instances where
the Capitol Police cracked open the Capitol Building doors to launch tear gas into the crowd.

        On January 28, 2021 an interview was conducted with W-1, who confirmed SANDERS
presence at the Capitol with W-1 and W-2 on January 6, 2021. SANDERS told W-1, SANDERS
saw a guard open the Capitol Building doors and throw tear gas into the crowd. SANDERS also
told W-1 that SANDERS went inside the Capitol Building Rotunda area and talked to guards
inside.

        On February 4, 2021 an interview was conducted with W-2, who confirmed SANDERS
presence at the Capitol with W-1 and W-2 on January 6, 2021. W-2 was able to make it to the
threshold door area but did not go inside the Capitol Building. W-2 said he/she lost sight of
SANDERS and assumed SANDERS went inside the Capitol Building. W-2 stated that while W-2
was on the street, W-2 saw SANDERS come out of the Capitol Building with a large crowd. W-2
later changed this statement during the interview, and said that W-2 did not see SANDERS come
out of the building

        W-2 stated that SANDERS told W-2 he went inside the Capitol, and that SANDERS told
W-2 that SANDERS took pictures inside the Capitol Building. SANDERS texted W-2 a picture
of inside the Capitol Building. W-2 provided his cellular telephone number as XXX-XXX-7242.
        On February 1, 2021 phone numbers associated with SANDERS and W-2 were analyzed
through a Verizon search warrant to determine if cellular activity occurred in the vicinity of the
Capitol Building on January 6, 2021. The data showed that SANDERS and W-2’s phones
connected to a tower at or near the Capitol Building on January 6, 2021 between the hours of 1:00
PM Eastern Standard Time (EST) and 6:30 PM EST. The data showed that SANDERS cellular
telephone was number XXX-XXX-9257 and made a call to W-2’s cellular telephone number
XXX-XXX-7242. The data also showed that SANDERS cellular telephone downloaded a file
while connected to a cellular tower at or near the Capitol Building. On March 29, 2021 a 2703(d)
order also confirmed that the cellular telephone number XXX-XXX-9257 was active on January
6, 2021 and registered to SANDERS.

        On February 22, 2021, U. S. Capitol security footage of January 6, 2021 was reviewed. A
driver license photograph of SANDERS was used to compare with the screen shots below, and it
was consistent with SANDERS appearance and dress, and showed him inside the Capitol Building
in the Rotunda area on January 6, 2021. That person is circled in red:




       On March 4, 2021, W-2 was re-interviewed. During the interview, the above surveillance
photos were shown to W-2 who said “it looked like Ace” referring to Jonathan Ace Sanders. When
asked to provide the full name of the person circled in the picture, W-2 said “Jonathan Ace
Sanders”.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
JONATHON ACE SANDERS, SR violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a
crime to (1) knowingly enter or remain in any restricted building or grounds without lawful
authority to do; and (2) knowingly, and with intent to impede or disrupt the orderly conduct of
Government business or official functions, engage in disorderly or disruptive conduct in, or within
such proximity to, any restricted building or grounds when, or so that, such conduct, in fact,
impedes or disrupts the orderly conduct of Government business or official functions; or attempts
or conspires to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a
posted, cordoned off, or otherwise restricted area of a building or grounds where the President or
other person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Your affiant also submits there is also probable cause to believe that Jackson Kostolsky
violated 40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly
(D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at
any place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or
disturb the orderly conduct of a session of Congress or either House of Congress, or the orderly
conduct in that building of a hearing before, or any deliberations of, a committee of Congress or
either House of Congress and (G) parade, demonstrate, or picket in any of the Capitol Buildings.



                                              ____________________________________
                                              DAVID GORMAN
                                              SPECIAL AGENTS
                                              FEDERAL BUREAU OF INVESTIGATION

       Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
By telephone, this 14th day of May 2021.
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                                              ___________________________________
                                              ZIA M. FARUQUI
                                              U.S. MAGISTRATE JUDGE
